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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: September 21, 2023.

                                                                          __________________________________
                                                                                  SHAD M. ROBINSON
                                                                          UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________

                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

      In re:                                              §
                                                          §        Case No. 23-10164-smr
      ASTRALABS, INC.,                                    §
                                                          §        Chapter 7
               Debtor.                                    §

                       ORDER GRANTING TRUSTEE’S MOTION TO REFUND
                          PROCEEDS OF POST-PETITION FINANCING

               CAME ON FOR CONSIDERATION the Trustee’s Motion to Refund Proceeds of Post-

  Petition Financing (the “Motion”) filed by Randolph N. Osherow, not individually but in his

  capacity as the duly appointed chapter 7 trustee (in such capacity, the “Trustee”), for and on behalf

  of ASTRALABS, Inc. (the “Debtor”). 1 After having considered the Motion and the record before

  it, the Court finds that: (i) post-petition, the Debtor (a) entered into a series of convertible

  promissory notes (the “Notes”) and (b) raised an aggregate of approximately $212,510.00 (the

  “Note Proceeds”) from individual lenders (each an “Individual Lender”) in connection with the

  Notes, each without Court authority as required under Bankruptcy Code section 364; and (ii) it is




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        Capitalized terms used herein, not otherwise defined, shall be given the meaning ascribed in the Motion.



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  in the best interest of the Estate for the Trustee to refund the Note Proceeds to the Individual

  Lenders following confirmatory process.

         IT IS HEREBY ORDERED THAT:

         1.        The Motion is GRANTED as to all Individual Lenders who have not objected to

  the Motion prior to the entry of this Order (each a, and collectively, “Consenting Individual

  Lender(s)”), and is deemed WITHDRAWN, without prejudice, as to any Individual Lender who

  has objected to the Motion and not withdrawn its objection.

         2.        As to all Consenting Individual Lenders, the form of Certificate attached as

  Exhibit 1 hereto is approved for use by the Trustee.

         3.        Within two business days of entry of this Order, the Trustee shall send a copy of

  this Order and the Certificate to each Consenting Individual Lender, via first class U.S. Mail, and

  if available, via e-mail, as such mailing and e-mail addresses are specified on the Individual

  Lender’s Note.

         4.        The deadline for returning a completed Certificate to the Trustee is twenty-one (21)

  days following the date of this Order. If such deadline falls on a Saturday or Sunday, the deadline

  is automatically extended to the following Monday. The Trustee, in his sole discretion, may extend

  the deadline for a Note Party without further order of this Court.

         5.        As to any Consenting Individual Lender that does not return a completed Certificate

  by the deadline, as may be extended by the Trustee, the name and amount shown on Exhibit 2

  hereto shall control for purposes of administering any refund due to such Consenting Individual

  Lender.

         6.        Following the receipt of completed Certificates satisfactory to the Trustee, the

  Trustee shall issue the refund of the Note Proceeds via mailed check, as soon as reasonably




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  practicable. As to any Certificate timely returned to the Trustee which the Trustee cannot

  consensually reconcile with the Consenting Individual Lender submitting same, the Trustee shall

  not provide any refund to such claimant unless and until reconciled to the Trustee’s satisfaction,

  and any party to such dispute may, by motion (including an omnibus motion by the Trustee) seek

  this Court’s resolution of the dispute.

         7.      As soon as practicable following the issuance of the refund of the Note Proceeds,

  generally, the Trustee shall file with this Court a final schedule of the Individual Lenders that

  received refunds.

         8.      Each of the Notes listed on Exhibit 3 hereto is hereby deemed void ab initio and

  shall not be considered evidence of a claim against the Debtor, the Trustee or the Estate.

         9.      As to any and all refunds made by the Trustee pursuant to this order, the Trustee

  shall stop payment and reissue a check refund to and for any Consenting Individual Lender who

  requests a reissuance of its refund check prior to the time at which the refund check becomes stale

  (ninety [90] days following issuance). If a Consenting Individual Lender fails to deposit or request

  reissuance of its refund check prior to the time at which the refund check becomes stale (ninety

  [90] days following issuance), such disbursement will, upon the ninetieth day following

  reissuance, be deemed abandoned while the underlying agreement remains void ab initio, and such

  funds shall immediately revert to the Estate, entirely and for all purposes without encumbrance by

  any claim or interest of the Consenting Individual Lender, for the benefit of the Estate’s creditors

  and stakeholders.

         10.     The Trustee is authorized and empowered to take all actions necessary to effectuate

  the relief granted pursuant to this Order.




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         11.     Notwithstanding Bankruptcy Rule 6004(h), this Order shall be immediately

  effective and enforceable upon its entry.

         12.     The Court shall retain jurisdiction with respect to all matters arising from or relating

  to the implementation, enforcement and interpretation of this Order

                                                  ###

  Order respectfully submitted by:

  Jay H. Ong
  Texas Bar No. 24028756
  Thanhan Nguyen
  Texas Bar No. 24118479
  MUNSCH HARDT KOPF & HARR, P.C.
  1717 West 6th Street, Suite 250
  Austin, Texas 78703
  Telephone: (512) 391-6100
  Facsimile: (512) 391-6149




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                                              EXHIBIT 1

                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

   In re:                                         §
                                                  §       Case No. 23-10164-smr
   ASTRALABS, INC.,                               §
                                                  §       Chapter 7
             Debtor.                              §

                       CERTIFICATE FOR REFUND OF NOTE PROCEEDS



          RETURN THIS FORM AND REQUESTED DOCUMENTATION ON OR BEFORE
  [*], 2023 TO:
                   Randolph Osherow
                   Chapter 7 Trustee for ASTRALABS, INC.
                   c/o Brenda Funk
                   Munsch Hardt Kopf & Harr, P.C.
                   700 Milam Street, Suite 800
                   Houston, Texas 77002
                   bfunk@munsch.com

       IF YOU FAIL TO RETURN THIS FORM ON OR BEFORE THE DATE SET
  FORTH ABOVE, YOU WILL RECEIVE A REFUND VIA CHECK SENT TO THE
  ADDRESS SHOWN ON YOUR CONVERTIBLE PROMISSORY NOTE AND IN THE
  AMOUNT SHOWN UNDER THE COLUMN AMOUNT RECEIVED ON EXHIBIT 2 TO
  THE ORDER SENT WITH THIS FORM CERTIFICATE.

            Please answer the following: Did you, or someone on your behalf, transfer funds to

  ASTRALABS, INC. between May 9, 2023 and May 17, 2023 in exchange for the delivery of a

  Convertible Promissory Note signed by ASTRALABS, INC. and dated effective May 8, 2023?

                                          __________ (Yes/No)

            If NO, please sign and date this form on the following page and return as indicated above.




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  If YES, please provide the following additional information:

                  Amount of Transfer (in U.S. Dollars) __________________

                  Date of Transfer                            __________________

                  Attach a record of the Transfer (cancelled check, confirmation of electronic
                  transfer, or similar record).

                  Name:                              ______________________________________

                  Address:                           ______________________________________

                  Email Address:                     ______________________________________

                  Contact Phone Number:              ______________________________________


  Any Refund Check will be made payable to party named above. 1




  PLEASE SIGN:


  I, the undersigned, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that the

  foregoing is true and correct.


          Executed on:              _________________
                                          Date

          ___________________________________
          Signature

          ___________________________________
          Printed Name




  1
      Refunds will be issued in accordance with relevant Orders of the United States Bankruptcy Court. The Trustee
      may dispute the right to a refund based on the information submitted with this Certificate.

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                                         Order Exhibit 2
                            Note Proceeds Received by ASTRALABS, INC.
 Note
Number Note Date                  Holder                 Amount Received       Date
  M23‐31 5/8/2023 Petr Zaytsev                           $      5,000.00     5/9/2023
  M23‐42 5/8/2023 Paul Kellam                            $      5,000.00     5/9/2023
  M23‐63 5/8/2023 Roosevelt Scott                        $      5,000.00     5/9/2023
  M23‐23 5/8/2023 Nathan Webber                          $      5,000.00     5/9/2023
   M23‐5 5/8/2023 Christopher Fast                       $      5,000.00    5/10/2023
  M23‐11 5/8/2023 Ralph J Ehrman                         $     10,000.00    5/10/2023
  M23‐12 5/8/2023 Paul S Wilcox                          $      5,000.00    5/10/2023
  M23‐14 5/8/2023 Clare Forshaw                          $      5,000.00    5/10/2023
  M23‐27 5/8/2023 Zachary Potvin                         $     20,000.00    5/10/2023
  M23‐55 5/8/2023 Antonello Loddo                        $      5,000.00    5/10/2023
                  Haider Family Trust
  M23‐57 5/8/2023                                        $       5,000.00 5/10/2023
                  Mohammad Haider, Trustee
  M23‐58 5/8/2023 John Kenneth Lee                       $       5,000.00 5/10/2023
  M23‐59 5/8/2023 Tahir Ahmad                            $       5,000.00 5/10/2023
  M23‐60   5/8/2023 Joao Carlos dos Santos Branquinho    $       5,000.00 5/10/2023
  M23‐68   5/8/2023 Tia L. A. Brown                      $       5,000.00   5/10/2023
  M23‐71   5/8/2023 Johnathan L Morgan                   $       5,000.00   5/10/2023
  M23‐77   5/8/2023 Johann Frank Webersberger            $       5,000.00   5/10/2023
  M23‐36   5/8/2023 Christopher Fontaine                 $       5,000.00   5/10/2023
   M23‐4   5/8/2023 Martin Wagner                        $      10,000.00   5/11/2023
  M23‐19   5/8/2023 Jeremy Phillips                      $      10,000.00   5/11/2023
  M23‐29   5/8/2023 Noah Splajt                          $       7,500.00   5/11/2023
  M23‐37   5/8/2023 Alexander Seery                      $       7,500.00   5/11/2023
  M23‐39   5/8/2023 Jon A. Sims                          $       5,000.00   5/11/2023
  M23‐40   5/8/2023 Ethan Brandt                         $      10,000.00   5/11/2023
  M23‐48   5/8/2023 Francis Tze Khen Chu                 $      10,000.00   5/11/2023
  M23‐54   5/8/2023 Nemanja Milosevic                    $          10.00   5/11/2023
  M23‐85   5/8/2023 Tammy Hong                           $      10,000.00   5/11/2023
  M23‐87   5/8/2023 Mark Beauharnois                     $       5,000.00   5/11/2023
  M23‐89   5/8/2023 Stephen Yoskowitz                    $       5,000.00   5/11/2023
  M23‐67   5/8/2023 Nived Krishnan                       $       5,000.00   5/12/2023
  M23‐61   5/8/2023 Johnny Evans                         $      10,000.00   5/15/2023
   M23‐6   5/8/2023 Daryl Campbell                       $       7,500.00   5/16/2023
                    Total Note Proceeds Received         $     212,510.00
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                                         10
                                           Order Exhibit 3
                             Unauthorized Notes issued by ASTRALABS, INC.
Note Series   Note Number   Date      Principal    Holder
      2023A            100 5/8/2023      $5,000.00 John Kaye

      2023A          M23‐2 5/8/2023      $5,000.00 Hozefa Moiyyadi

      2023A          M23‐3 5/8/2023      $5,000.00 Srinivasa Kottakota

      2023A          M23‐4 5/8/2023    $10,000.00 Martin Wagner

      2023A          M23‐5 5/8/2023      $5,000.00 Christopher Fast

      2023A          M23‐6 5/8/2023      $7,500.00 Daryl Campbell

      2023A         M23‐11 5/8/2023    $10,000.00 Ralph J Ehrman

      2023A         M23‐12 5/8/2023      $5,000.00 Paul S Wilcox

      2023A         M23‐13 5/8/2023      $5,000.00 Wayne C Berry

      2023A         M23‐14 5/8/2023      $5,000.00 Clare Forshaw

      2023A         M23‐19 5/8/2023    $10,000.00 Jeremy Phillips

      2023A         M23‐22 5/8/2023    $10,000.00 Pablo Raess

      2023A         M23‐23 5/8/2023      $5,000.00 Nathan Webber

      2023A         M23‐24 5/8/2023    $20,000.00 Frederic Corwin

      2023A         M23‐26 5/8/2023      $5,000.00 Munish Luthra

      2023A         M23‐27 5/8/2023    $20,000.00 Zachary Potvin

      2023A         M23‐28 5/8/2023    $10,000.00 Daniel R Beal

      2023A         M23‐29 5/8/2023      $7,500.00 Noah Splajt

      2023A         M23‐31 5/8/2023      $5,000.00 Petr Zaytsev

      2023A         M23‐33 5/8/2023      $5,000.00 Phillip Lopez

      2023A         M23‐35 5/8/2023    $10,000.00 Michael J. Miracle

      2023A         M23‐36 5/8/2023      $5,000.00 Christopher Fontaine

      2023A         M23‐37 5/8/2023      $7,500.00 Alexander Seery

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                                         10
                             Unauthorized Notes issued by ASTRALABS, INC.
Note Series   Note Number   Date      Principal      Holder
      2023A         M23‐39 5/8/2023      $5,000.00 Jon A. Sims

      2023A         M23‐40 5/8/2023    $10,000.00 Ethan Brandt

      2023A         M23‐41 5/8/2023    $25,000.00 Bradley G. Kessler

      2023A         M23‐42 5/8/2023      $5,000.00 Paul Kellam

      2023A         M23‐43 5/8/2023      $5,000.00 Salvatore Pepe

      2023A         M23‐45 5/8/2023      $5,000.00 Marc Russell

      2023A         M23‐46 5/8/2023      $7,500.00 Jaron Glasgow

      2023A         M23‐48 5/8/2023    $10,000.00 Francis Tze Khen Chu

      2023A         M23‐51 5/8/2023      $5,000.00 Rajasekhar Yakkali

      2023A         M23‐53 5/8/2023      $5,000.00 Angelo Rella

      2023A         M23‐54 5/8/2023    $40,000.00 Nemanja Milosevic

      2023A         M23‐55 5/8/2023      $5,000.00 Antonello Loddo

      2023A         M23‐56 5/8/2023      $5,000.00 Thomas E. Canty
                                                     Haider Family Trust
      2023A         M23‐57 5/8/2023      $5,000.00
                                                     Mohammad Haider, Trustee
      2023A         M23‐58 5/8/2023      $5,000.00 John Kenneth Lee

      2023A         M23‐59 5/8/2023      $5,000.00 Tahir Ahmad

      2023A         M23‐60 5/8/2023      $5,000.00 Joao Carlos dos Santos Branquinho

      2023A         M23‐61 5/8/2023    $10,000.00 Johnny Evans

      2023A         M23‐62 5/8/2023      $5,000.00 Jeff Meyer

      2023A         M23‐63 5/8/2023      $5,000.00 Roosevelt Scott

      2023A         M23‐64 5/8/2023      $5,000.00 Sanjay S. Pinnock

      2023A         M23‐65 5/8/2023    $35,000.00 Hasan Ugur Koyluoglu

      2023A         M23‐67 5/8/2023      $5,000.00 Nived Krishnan

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                              Unauthorized Notes issued by ASTRALABS, INC.
Note Series    Note Number   Date      Principal      Holder
      2023A          M23‐68 5/8/2023      $5,000.00 Tia L. A. Brown

      2023A          M23‐70 5/8/2023      $5,000.00 Brian J Carroll

      2023A          M23‐71 5/8/2023      $5,000.00 Johnathan L Morgan

      2023A          M23‐72 5/8/2023      $5,000.00 Harold Bishop
                                                      SoftDsk LLC
      2023A          M23‐75 5/8/2023      $5,000.00
                                                      Demetrios Sapounas, Managing Director
      2023A          M23‐77 5/8/2023      $5,000.00 Johann Frank Webersberger

      2023A          M23‐79 5/8/2023      $7,500.00 Chukwuoma Ngoka

      2023A          M23‐84 5/8/2023      $5,000.00 Baiping Guo

      2023A          M23‐85 5/8/2023    $10,000.00 Tammy Hong

      2023A          M23‐87 5/8/2023      $5,000.00 Mark Beauharnois

      2023A          M23‐89 5/8/2023      $5,000.00 Stephen Yoskowitz

      2023A          M23‐93 5/8/2023      $5,000.00 Stephen Berger

      2023A         M23‐102 5/8/2023      $5,000.00 Ethan Brandt
       Total                           $472,500.00




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